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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                        CIVIL ACTION NO. 1:23-CV-21771-DPG/EGT

  SUNBELT RENTALS, INC.,
  a North Carolina corporation,

                Plaintiff / Counter-defendant,

  v.

  ACTION RENTALS HOLDINGS, LLC, a
  Florida limited liability company; ACTION
  EQUIPMENT HOLDINGS, LLC, a Delaware
  limited liability company; ACTION RENTALS
  TRENCH, SHORING, & SUPPLY, LLC, a
  Florida limited liability company; ACTION
  FUEL & LUBE, LLC, a Florida limited liability
  company; ACTION FUEL & LUBE CENTRAL
  FLORIDA 2, LLC, a Florida limited liability
  company; ACTION FUEL & LUBE NORTH
  FLORIDA 2, LLC, a Florida limited liability
  company; ACTION RENTALS ATL, LLC, a
  Georgia limited liability company; ACTION
  RENTALS MSY, LLC, a Louisiana limited
  liability company; ACTION RENTALS SAV,
  LLC, a Georgia limited liability company;
  ACTION RENTALS VPC, LLC, a Georgia
  limited     liability   company;      ACTION
  EQUIPMENT SERVICE, LLC, a Florida
  limited liability company; ACTION RENTALS
  FLL, LLC, a Florida limited liability company;
  ACTION RENTALS HST, LLC, a Florida
  limited liability company; ACTION RENTALS
  JAX, LLC, a Florida limited liability company;
  ACTION RENTALS MIA, LLC, a Florida
  limited liability company; ACTION RENTALS
  MCO, LLC, a Florida limited liability company;
  ACTION RENTALS MTH, LLC, a Florida
  limited liability company; ACTION RENTALS
  PNS, LLC, a Florida limited liability company;
  ACTION RENTALS RSW, LLC, a Florida
  limited liability company; ACTION RENTALS
  TPA, LLC, a Florida limited liability company;
  ACTION RENTALS VRB, LLC, a Florida
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  limited liability company; ACTION RENTALS
  WPB, LLC, a Florida limited liability company;
  and BRUNO RAMOS,

               Defendants / Counter-claimants.



     DEFENDANTS’ / COUNTER-CLAIMANTS’ OPPOSITION TO PLAINTIFF’S /
   COUNTER-DEFENDANT’S RENEWED MOTION TO COMPEL ARBITRATION AND
                             TO DISMISS
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         Defendants / Counter-claimants1 respectfully file this memorandum in opposition to the

  Renewed Motion to Compel Arbitration Under 9 U.S.C. §§ 3, 4 and to Dismiss Pursuant to Fed.

  R. Civ. P. 12(b)(1) and (6), (D.E. 40 (the “Renewed Motion to Compel Arbitration” or

  “Renewed Mot.”)), filed by Plaintiff / Counter-defendant Sunbelt Rentals, Inc. (“Sunbelt” or

  “Buyer”). For the reasons that follow, the motion should be denied.

  I.     INTRODUCTION
         The Counterclaims2 arise out of Action Rentals’ sale of its rights and assets in its

  construction equipment rental businesses to Sunbelt. (D.E. 39, Section III.) Counterclaims I-III

  pertain to provisions of the governing Asset Purchase Agreement (D.E. 39, Ex. A (the “APA”))

  that require Sunbelt (as buyer) to make additional payments to Action Rentals (as sellers) if the

  acquired businesses meet certain revenue benchmarks. These provisions—commonly called

  “earnouts”—incentivize sellers to support the sold businesses after the transition. In the event

  that Action Rentals disputed Sunbelt’s revenue calculations, the APA requires the parties to

  submit Action Rentals’ “proposed adjustments” to an accountant to arbitrate the dispute.

         Sunbelt argues that Counterclaims I-III must be arbitrated simply because they are related

  to the earnout provisions, but neither the text of the APA nor the case law supports this

  argument. This Court must look to “the plain language of the arbitration provision and contract

  itself” to define the scope of an arbitration provision. Here, the APA’s plain language limits

  arbitration to disputes over “proposed adjustments,” i.e., financial adjustments, to a revenue
         1
             “Defendants,” “Counter-claimants,” “Sellers,” and “Action Rentals” refer to,
  collectively, Action Rentals Holdings, LLC, Action Equipment Holdings, LLC, Action Rentals
  Trench, Shoring & Supply, LLC, Action Fuel & Lube, LLC, Action Fuel & Lube Central Florida
  2, LLC, Action Fuel & Lube North Florida 2, LLC, Action Rentals ATL, LLC, Action Rentals
  MSY, LLC, Action Rentals SAV, LLC, Action Rentals VPC, LLC, Action Equipment Service,
  LLC, Action Rentals FLL, LLC, Action Rentals HST, LLC, Action Rentals JAX, LLC, Action
  Rentals MIA, LLC, Action Rentals MCO, LLC, Action Rentals MTH, LLC, Action Rentals
  PNS, LLC, Action Rentals, RSW, LLC, Action Rentals TPA, LLC, Action Rentals VRB, LLC,
  Action Rentals WPB, LLC, and Bruno Ramos (“Bruno”).
         2
           References to “Counterclaims” refer to the First Amended Answer to Complaint,
  Affirmative Defenses, and Counterclaims (“Am. Countercl.”). (D.E. 39.)


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  calculation. That is why the parties put an accountant, rather than a lawyer, in charge of the

  arbitration. The APA further limits the accountant-arbitrator’s remedial powers to “assign[ing] a

  value,” i.e., fixing a dollar amount, to disputed items within limited parameters. Also notable is

  that there is no preamble to the arbitration clause stating that “all claims arising out of, or related

  to” the earnout provisions or APA must be arbitrated. In fact, the opposite is true: any disputes

  outside of the APA’s arbitration provisions must be brought in a federal or state court in Florida.

         No fewer than five Courts of Appeals——including the Fifth Circuit addressing a similar

  Sunbelt asset purchase agreement—and two District Courts in this Circuit have held that

  accountant-arbitration provisions like the one in the APA are narrow, providing for accountants

  to resolve only accounting issues. Those same courts have held that claims for breach of

  contract, breach of duties of good faith and fair dealing, and for declaratory relief, which is what

  Action Rentals asserts here, are outside the scope of limited accountant-arbitration provisions.

  The Eleventh Circuit has not considered an arbitration clause like the one at bar, and Sunbelt’s

  reliance on Ivax Corp. v. B. Braun of America, Inc., 286 F.3d 1309 (11th Cir. 2002), is

  misplaced. While Ivax compelled arbitration for earnout-related claims, the court’s reasoning

  was, properly, centered on the broad language of the arbitration provision at issue, which

  covered all “dispute[s]” that the seller “has not been paid amounts due it” under the earnout

  provisions. That contractual language is determinatively broader than that in the APA here.

         Sunbelt’s arguments for dismissal are also unavailing. First, Sunbelt contends that

  Counterclaim IV, which seeks specific performance, is moot because the “first draft” of the

  Closing Statement that Sunbelt provided to Action Rentals satisfies the APA. Action Rentals

  disagrees and contends that the APA does not permit draft submissions. This controversy can

  only be resolved by examining the merits, which cannot be done on a motion to dismiss.

         Second, Sunbelt claims that Counterclaim V for unjust enrichment was not adequately

  pled and is precluded by the APA. Counterclaim V adequately pleads the elements of an unjust



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  enrichment claim and satisfies Iqbal’s low-bar “plausibility” requirement. Furthermore, the APA

  does not preclude Counterclaim V because most of the post-closing expenses at issue are not

  covered by the APA. Action Rentals agrees that the APA covers a subset of the pleaded

  unreimbursed expenses, and respectfully requests leave to amend Counterclaim V to remove

  allegations related to rent and utilities and to re-plead them as a breach of contract claim.3

  II.    BACKGROUND
         A.      The APA and the Earnout Provisions
         Action Rentals sold its rights and assets to Sunbelt pursuant to the APA dated October 1,

  2021. (Am. Countercl. ¶¶ 2-3.) In addition to the initial purchase price, the APA provided for

  Sunbelt to pay Action Rentals an additional $7.5 million earnout payment—what the APA calls a

  “Contingent Payment Amount”—if the acquired businesses achieved certain revenue

  benchmarks—what the APA calls the “Contingent Payment Threshold.” (Id. ¶¶ 50, 54.)

         The earnout’s revenue benchmarks are tied to Sunbelt’s rental revenues (the “Contingent

  Period Revenues”) from specified customers (the “Contingent Payment Customers”) during the

  calendar year (2022) after the transaction (the “Contingent Payment Period”). (Id. ¶ 54.) The

  Contingent Payment Customers were those customers whose business could be attributed to

  Action Rentals, specifically, a set of Action Rentals’ pre-existing customers listed on Schedule

  3.4(a)(ii) of the APA (the “Contingent Payment Customer List”), and any new customers

  brought to Sunbelt by Bruno or Action Rentals’ former employees (“New Customers”). (Id. ¶

  55.) The Contingent Payment Threshold is specified in the Contingent Payment Customer List as

  $35,927,611.03, and was determined by tabulating all of the rental revenues Action Rentals and

  Sunbelt earned from the listed customers during the year prior to the transaction. (Id. ¶¶ 56-57.)

         If Sunbelt’s Contingent Period Revenues met or exceeded the Contingent Payment

  Threshold, Sunbelt is required to pay Action Rentals the full Contingent Payment Amount of

         3
            Throughout this brief, emphasis is added and internal citations, quotation marks, and
  alterations omitted unless otherwise indicated.


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  $7.5 million. A sliding scale of payments applies if Contingent Period Revenues were between

  91% and 99.99%. Anything less than 91% and no payment is due. (Id. ¶ 58.)

         Because the ability to generate earnout revenues, and information about those revenues,

  is in Sunbelt’s (and not Action Rentals’) hands, the APA imposes various obligations on

  Sunbelt’s operation of the businesses and provision of relevant information to Action Rentals.

  First, during the Contingent Payment Period, Sunbelt is required to “in good faith continue to

  provide rental services to the Contingent Payment Customers.” (Id. ¶ 59.)

         Second, Sunbelt is prohibited from “tak[ing] any action that is primarily intended to

  prevent or frustrate the achievement of Contingent Payment Revenues . . . being equal to or

  greater than the Contingent Payment Threshold.” (Id. ¶ 59.)

         Third, after the conclusion of the Contingent Payment Period, Sunbelt is required to

  provide Action Rentals with “a statement setting forth in reasonable detail the Contingent Period

  Revenues for the entire Contingent Payment Period (the ‘Final Revenue Calculation’).” (Id. ¶

  60.) After receiving the Final Revenue Calculation, if Bruno “believes that the Final Revenue

  Calculation was not determined correctly or in accordance with the APA,” he has 30 days to

  “describe [to Sunbelt] in reasonable detail any proposed adjustments to the Final Revenue

  Calculation which Bruno believes should be made and the basis therefor.” (Id. ¶ 61.)

         Fourth, Sunbelt and Action Rentals are then required to “negotiate in good faith to

  resolve any dispute over the Bruno’s [sic] proposed adjustments to the Final Revenue

  Calculation.” (Id. ¶ 63.) If they cannot resolve a dispute over Bruno’s proposed adjustments to

  the Final Revenue Calculation, then the parties “jointly will select . . . an Accounting Firm to

  resolve by arbitration any remaining dispute over Bruno’s proposed adjustments.” (Id. ¶¶ 64-65.)

         B.     Sunbelt’s Breaches of the APA Regarding the Earnout
         Sunbelt breached its earnout obligations in multiple ways, including by failing to provide

  rental services to certain customers; by engaging in a duplicitous cat-and-mouse game in which



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   Sunbelt repeatedly generated only partial and misleading information regarding the Contingent

   Period Revenues; and by attempting to impose a new and unjustifiably inflated Contingent

   Payment Threshold to deny Action Rentals’ entitlement to an earnout payment.

          Following the Contingent Payment Period, Sunbelt initially provided Action Rentals with

   a purported Final Revenue Calculation of $28,381,670, which would result in no earnout

   payment. (Id. ¶ 69.) However, after Bruno repeatedly pressed Sunbelt on the accuracy and

   completeness of its tabulation, Sunbelt twice revised its calculation, revealing an additional $4.9

   million in previously undisclosed revenues. Sunbelt first conceded that it identified over $3

   million of additional revenues for 11 customers who had multiple accounts. (Id. ¶ 71.) Sunbelt

   then conceded that it had not counted revenues for any New Customers, and that Sunbelt had

   identified 413 New Customers and over $1.8 million in additional revenues. (Id. ¶ 73.)

          Sunbelt thus has now conceded Contingent Period Revenues of $33,313,874, which is

   $92.72% of the Contingent Payment Threshold of $35,927,611.03 and obligates Sunbelt to pay

   an earnout of $1.5 million. (Id. ¶ 74.) Nevertheless, Sunbelt has not paid Action Rentals any

   earnout. (Id. ¶ 75.) Instead, Sunbelt has attempted to move the goal posts by claiming that the

   Contingent Payment Threshold should be raised by over $5.4 million, to a total of $41,331,593,

   to again put Action Rentals out of the money. (Id. ¶¶ 107-10.)

          Furthermore, Sunbelt continues to fail to disclose all of the revenues that should be

   tabulated. First, Sunbelt has not identified and disclosed all revenues from New Customers

   because Sunbelt has not linked all New Customer accounts in Sunbelt’s computer system to

   Action Rentals’ former employees who brought in those New Customers. (Id. ¶¶ 55, 76-78.)

   Second, Sunbelt has underreported at least $5.2 million in rental revenues from at least seven

   preexisting customers, likely, in part, because Sunbelt has not identified and tabulated the rental

   revenues of all customers with multiple accounts. (Id. ¶¶ 79-80, 84.)




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          In addition, Sunbelt provided no rental services to 23 Contingent Payment Customers.

   Those same customers generated over $2 million in revenues during the year prior to the

   transaction, and thus likely could have generated significant revenues during the Contingent

   Payment Period. (Id. ¶¶ 97-98.) But Sunbelt undermined that business opportunity by placing a

   hold or other rental restriction on at least some of those customers’ accounts. (Id. ¶¶ 96, 99.)

          C.      The Closing Statement
          Apart from the earnout, the APA also provides for a “Purchase Price Adjustment” that

   modifies the initial purchase price based on the assets and liabilities of the acquired businesses at

   the time the transaction closed. (Id. ¶ 115.) To determine the amount of the adjustment, the APA

   requires Sunbelt to deliver to Action Rentals a “Closing Statement” setting forth the various

   components of the Purchase Price Adjustment within 60 days of the closing, which took place on

   October 22, 2021. (Id. ¶¶ 114, 116.) Similar to the earnout procedure, Action Rentals then has

   the opportunity to dispute and propose adjustments to the Closing Statement, the parties then

   must negotiate in good faith to resolve any disputes, and in the event of an unresolved

   disagreement, the proposed adjustments are submitted to an accountant-arbitrator. (Id. ¶¶ 117-

   123.) However, Sunbelt failed to deliver the Closing Statement within 60 days after the closing,

   and on December 23, 2021, Sunbelt sent to Action Rentals a supposed “first draft” of the Closing

   Statement, which is not permitted by the APA and which impeded Action Rentals’ ability to

   challenge and propose any adjustments to the Closing Statement. (Id. ¶¶ 124-129.)

          D.      Unreimbursed Post-Closing Expenses
          After the transaction closed, Action Rentals paid various expenses on Sunbelt’s behalf to

   ensure a smooth transition. These expenses were related to property taxes, security services,

   utilities, rent, mailing costs, and various other business expenses, and totaled $1,381,569.77.

   Sunbelt has not reimbursed Action Rentals for these expenses. (Id. ¶¶ 130-131.)




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   III.    ARGUMENT
           A.      Counterclaims I-III Are Outside the Scope of the APA’s Limited
                   Accountant-Arbitration Clause
           Action Rentals does not dispute that Section 3.4 of the APA contains a valid accountant-

   arbitration provision, and does not contend, as Sunbelt claims, that this Court should not enforce

   it merely because it would be “unfair.” (Renewed Mot. at 10-12.) Rather, Sunbelt’s motion

   should be denied because the APA’s accountant-arbitration provision is narrowly drawn—it is

   limited to adjudicating “proposed adjustments,” i.e., financial adjustments, to the Final Revenue

   Calculation, which itself is a spreadsheet detailing rental revenues. Counterclaims I-III, however,

   do not attempt to litigate “proposed adjustments” to the Final Revenue Calculation.

                   1.      The Relevant Law
           A party seeking to compel arbitration under the Federal Arbitration Act (“FAA”) must

   demonstrate that “(a) the plaintiff entered into a written arbitration agreement that is enforceable

   under ordinary state-law contract principles and (b) the claims before the court fall within the

   scope of that agreement.” Lambert v. Austin Ind., 544 F.3d 1192, 1195 (11th Cir. 2008). “Under

   Florida law, the meaning of an arbitration provision is a matter of contractual interpretation and

   thus turns on the intent of the parties to the contract, as manifested in the plain language of the

   arbitration provision and contract itself.” Calderon v. Sixt Rent a Car, LLC, 5 F.4th 1204, 1208

   (11th Cir. 2021). “The FAA does not require parties to arbitrate when they have not agreed to do

   so, nor does it prevent parties who do agree to arbitrate from excluding certain claims from the

   scope of their arbitration agreement.” Paladino v. Avnet Computer Techs., Inc., 134 F.3d 1054,

   1057 (11th Cir. 1998). The presumption in favor of arbitration notwithstanding, “the courts are

   not to twist the language of the contract to achieve a result which is favored by federal policy but

   contrary to the intent of the parties.” Id.




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                  2.      The Plain Text Limits Arbitration to Accounting Disputes over
                          Proposed Adjustments to the Final Revenue Calculation
          Sunbelt contends that because Counterclaims I-III “all relate to the Final Revenue

   Calculation,” they are subject to arbitration by an accountant. (Renewed Mot. at 6-7.) This

   argument fails because “the plain language of the arbitration provision and contract itself”—the

   lodestar for determining the scope of an arbitration clause—does not support Sunbelt’s expansive

   interpretation. Calderon, 5 F.4th at 1208. In fact, Sunbelt all but ignores the text of the

   accountant-arbitration provision.

          The accountant-arbitration provision at issue provides, in relevant part, that,

          (c) Buyer will prepare and deliver to Bruno . . . within the thirty (30) days
          following the end of the Contingent Payment Period, a statement setting forth in
          reasonable detail the Contingent Period Revenues for the entire Contingent
          Payment Period (the “Final Revenue Calculation”). Within the thirty (30) day
          period after Buyer’s delivery of the Final Revenue Calculation, Bruno will, in a
          notice to Buyer, either accept the Final Revenue Calculation, or, in the event that
          Bruno believes the Final Revenue Calculation was not determined correctly
          or in accordance with this Agreement, describe in reasonable detail any
          proposed adjustments to the Final Revenue Calculation which Bruno
          believes should be made and the basis therefor. . . .

          (d) Buyer and Bruno will negotiate in good faith to resolve any dispute over the
          Bruno’s proposed adjustments to the Final Revenue Calculation, provided
          that if any such dispute is not resolved within thirty (30) days following receipt by
          Buyer of Bruno’s proposed adjustments, Buyer and Bruno jointly will select . . .
          an Accounting Firm to resolve by arbitration any remaining dispute over
          Bruno’s proposed adjustments. Buyer and Bruno will direct the Accounting
          Firm to resolve the items in dispute and render a written report on the resolved
          disputed items (and only on those disputed items) within thirty (30) days after the
          date on which it is engaged or as soon thereafter as possible. In resolving any
          disputed item, the Accounting Firm may not assign a value to any item greater
          than the greatest value for such item claimed by Buyer or Bruno or less than the
          smallest value for such item claimed by Buyer or Bruno.

   (APA §§ 3.4(c)-(d).)

          This is an unambiguously narrow arbitration clause. The accountant-arbitrator’s authority

   is circumscribed to merely resolving “any remaining dispute over Bruno’s proposed

   adjustments” after the parties have attempted to resolve those disagreements. The accountant-


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   arbitrator’s role is further limited to “assign[ing] a value,” i.e., fixing a dollar amount, to disputed

   items within limited parameters. (APA§ 3.4(d).)

          Notably, the accountant-arbitration clause is not introduced by language mandating

   arbitration for “all claims arising out of, or related to” the earnout (or words to that effect). Nor

   does the accountant-arbitration clause “broadly” cover “any dispute” related to the Contingent

   Payment, as Sunbelt selectively quotes. (Renewed Mot. at 6.) Instead, the parties agreed to limit

   the accountant-arbitrator’s authority to resolving computational disputes about only “Bruno’s

   proposed adjustments” that the parties could not resolve. In addition, the parties expressly agreed

   that any disputes outside of the APA’s arbitration provisions must be submitted to a federal or

   state court in Florida. (APA § 11.10.) That provision demonstrates that the parties did not intend

   for the accountant-arbitrator provision to cover every conceivable dispute that touches upon the

   earnout. See, e.g., Paladino, 134 F.3d at 1057 (“The FAA does not . . . prevent parties who do

   agree to arbitrate from excluding certain claims from the scope of their arbitration agreement.”).

                  3.      Numerous Courts of Appeals and District Courts Are In Accord
          Numerous Courts of Appeals and District Courts in this Circuit interpreting similarly

   worded accountant-arbitration clauses in asset purchase agreements with earnout provisions have

   held that arbitration is limited to accounting disputes related to tabulating earnout revenues.

   Indeed, the Fifth Circuit so held in relation to a prior Sunbelt asset purchase agreement.

          In 2014, Hebbronville Lone Star Rentals L.L.C. (“Lone Star”) sold its assets, customer

   lists, and customer contracts to Sunbelt. See Hebbronville Lone Star Rentals, L.L.C. v. Sunbelt

   Rentals Indus. Servs., L.L.C., 898 F.3d 629, 630 (5th Cir. 2018). The asset purchase agreement

   included a contingent payment provision. Id. As part of the calculation of earnout revenues,

   Sunbelt included revenues for a customer named “COG Operating LLC,” which amounted to

   under $55,000, but did not include more than $2 million in revenues for the account for customer

   name “COG Operating, LLC.” The only difference between the two names was the comma



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   before “LLC,” even though both accounts were for the same company. “Sunbelt justified that

   exclusion on the ground that the asset purchase agreement does not list COG with-a-comma as a

   Business Customer.” Id. at 631. Lone Star and Sunbelt submitted the calculation of the earnout

   revenues to an accountant-arbitrator, who rejected Sunbelt’s disingenuous argument that it did

   not have to give credit for revenues generated by the entity with a comma in its name. Id.

          However, the arbitrator took the additional step of adjusting the contractually specified

   contingent payment threshold upwards in the manner sought by Sunbelt. Id. at 631-32. The Fifth

   Circuit ruled that the arbitrator exceeded his authority under the parties’ “limited” arbitration

   agreement. As the court explained, the contract’s language provided for the accountant-arbitrator

   “to resolve only ‘any remaining dispute over Seller’s proposed adjustments to a Revenue

   Calculation,’” and did not provide for the arbitrator to resolve all disputes “regarding” or “arising

   out of” the revenue calculation. Id. at 633-34 (emphasis in original). The court found its

   interpretation was reinforced by the separate clause providing that “any disputes not falling

   within the scope of the [agreement’s] arbitration clauses will be resolved in court.” Id. at 634.

          As in Lone Star, the APA’s accountant-arbitration provision is limited to adjudicating

   “proposed adjustments” to the Final Revenue Calculation. Additionally, as in Lone Star, the

   APA contains a separate clause reserving all non-arbitral issues to the court system.

          This interpretation is also supported by the use of an accountant as the arbitrator. In Fit

   Tech, Inc. v. Bally Total Fitness Holding Corp., the First Circuit found that using an accountant

   as arbitrator for disputes concerning a post-acquisition earnout buttressed the interpretation that

   arbitration was “limited” “to disagreements about accounting issues arising in the calculations

   that underpin the [earnout] schedules.” 374 F.3d 1, 8-9 (1st Cir. 2004).4 The court reasoned:

          4
            Like the APA, here, the relevant provisions in Fit Tech required the seller to notify the
   buyer of “any objections, and the basis therefore . . . [to] the Earn-Out Schedule . . . [and specify]
   the amount in dispute,” and provided that if the parties “are unable to resolve any disagreement
   with respect to . . . the Earn-Out Schedule . . . , then the items in dispute will be referred to the
   Accountants for final determination.” 374 F.3d at 3.


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                  [I]t makes no sense to assume that accountants would be entrusted
                  with evaluating disputes about the operation of the business in
                  question. Yes, operational misconduct may well affect the level of
                  earnings and therefore the schedules, but . . . [no] one [would]
                  expect accountants to have special competence in deciding whether
                  business misconduct unrelated to accounting conventions was a
                  breach of contract or any implied duty of fair dealing.

   Id. at 8.

           The Second, Sixth, and Ninth Circuits and two District Courts in this Circuit are in

   accord. The Second Circuit faced a provision requiring arbitration by an accountant of “all

   questions, issues or disputes arising under this Agreement with respect to the calculations of the

   Earned Payout Amount.” XL Capital, Ltd. v. Kronenberg, 145 F. App’x 384, 385 (2d Cir. 2005).

   It explained that “the fact that the chosen arbitrator is an accounting firm verifies the import of

   the plain language: that the scope of the clause is limited to those issues closely related to

   accounting.” Id. Likewise, the Ninth Circuit held that arbitration by an “Earnout Auditor” was

   “limited” to resolving disputes over the “calculation of the proposed earnout amount.” Orrico v.

   Alliant Foodservice, Inc., 119 F. App’x 899, 902 (9th Cir. 2004). So too has the Sixth Circuit

   held. See Bratt Enters., Inc. v. Noble Int’l Ltd., 388 F.3d 609, 612-13 (6th Cir. 2003) (reversing

   district court order to compel arbitration and finding that accountant-arbitration provision

   covered only “disagreements about the amounts included in the Closing Balance Sheet”). Two

   District Courts in this Circuit have also reached the same conclusion.5

                  4.     Sunbelt’s Reliance on Ivax Ignores the Text of the Arbitration Clauses
           Sunbelt hangs its argument on the Eleventh Circuit’s decision in Ivax, yet, incredibly,
           5
             See, e.g., Hodges v. MedAssets Net Revenue Sys., 07 Civ. 2985, 2008 WL 476140, at
   *3-4 (N.D. Ga. Feb. 19, 2008) (provision referring “any dispute” over earnout determination to
   accountant-arbitrator, read “as a coherent whole,” pertains only to “disputes concerning the
   calculation of sales” where the buyer was required to provide seller with a “schedule detailing
   the calculation” of the earnout); Senti v. Sanger Works Factory, Inc., 06 Civ. 1903, 2007 WL
   1174076, at *2, 6 (M.D. Fla. Apr. 18, 2007) (provision requiring accountant-arbitration of “a
   dispute or disagreement relating to the Earn-Out” was limited to “issues that accountants are
   qualified to resolve . . . [involving] the calculation of the correct amounts due (applying
   generally accepted accounting principles) under the Earn-Out section”).


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   does not bother to discuss the language of the arbitration clause in that case. In Ivax, the court

   parsed the contract language and determined that the “dispute[s]” referred to arbitration included

   all “disagreements that arise when ‘Ivax [the seller] determines that it has not been paid amounts

   due it’” under the earnout provisions. Id. at 1322 (quoting the contract). The court interpreted

   this broad language to require arbitration for “any assertion by Ivax that Braun should make a

   contingency payment—regardless of the reasons Ivax may give.” Id. 6

          The court further explained that the “key” to its conclusion was an adjacent clause giving

   the arbitrator “the power to use ‘whatever procedures and factual investigations’ it deems

   necessary to determine” the contingent payout. Id. at 1323 (quoting the contract). The court

   reasoned that “[s]uch a grant of access would be unnecessary under Ivax’s narrow interpretation,

   which confines the arbitrator to adjudicating disputes over proper [adjusted combined operating

   income] entries based solely on ‘reports from the two parties’ accountants.’” Id.

          Neither pillar supporting the court’s opinion in Ivax is present here, rendering it an

   inapposite precedent. First, the APA’s arbitration provision does not include the all-

   encompassing language found in Ivax that arbitration was required for all “dispute[s]” raised by

   the seller “that it has not been paid amounts due.” Instead, the APA limits arbitration to

   “dispute[s] over Bruno’s proposed adjustments.” Second, unlike in Ivax, the APA does not

   contain a special grant of authority to the accountant-arbitrator to resolve anything other than

   accounting-specific disputes, which the Ivax court said was “key” to its decision. According to

   the logic of Ivax, that suggests that the parties here did not intend for the accountant-arbitrator to

   resolve every conceivable controversy touching on the earnout.



          6
             Indeed, because the arbitration clause was so broad as to encompass any claim by Ivax
   “that it has not been paid amounts due,” the court said it was appropriate to consider the “thrust”
   of Ivax’s complaint, not just the alleged causes of action. Ivax, 286 F.3d at 1321-22. The thrust,
   according to the court, was to collect the contingent payment through litigation, which was a no-
   go because of specific arbitration language in the agreement. Id.



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          The language in the APA controls. “In analyzing the scope of an arbitration clause, we

   consider how the factual allegations in the complaint match up with the causes of action asserted

   and measure that against the language of the arbitration clause.” Doe v. Princess Cruise Lines,

   Ltd., 657 F.3d 1204, 1221 n.13 (11th Cir. 2011). The Court must give effect to the APA’s

   language limiting arbitration to resolving disputes about “Bruno’s proposed adjustments to the

   Final Revenue Calculation.” “If the language about [proposed adjustments] did not limit the

   scope of the arbitration provision, it would have no purpose, and that is an interpretive no-no.”

   Id. at 1218; see id. (noting the parties could have drafted a broader arbitration clause simply by

   omitting the limiting language). The presence of a broader arbitration provision than the clause

   in the APA makes Ivax inapplicable. See Calderon, 5 F.4th at 1207, 1209-11 (denying motion to

   compel arbitration based on close reading of contract language “in the light of neighboring

   provisions and the larger contractual context—and applying a dose of common sense”).7

          In the absence of binding precedent, this Court should look to the myriad of decisions

   cited herein as persuasive authority.

                  5.      Counterclaims I and II Are Not Arbitrable
          The APA’s narrow accountant-arbitration provision does not encompass Counterclaims I

   and II. Action Rentals is not asking this Court to resolve disputes over proposed adjustments to

   the Final Revenue Calculation, but instead alleges Sunbelt’s conduct breached contractual

   provisions of the APA and the covenant of good faith and fair dealing.

          Counterclaims I and II allege that Sunbelt violated various provisions in the APA by (i)

   failing, in good faith, to continue to provide rental services to Contingent Payment Customers by


          7
             See also Bennett v. Sys. & Servs. Techs., Inc., 2:21-CV-770, 2022 WL 1470318, at *4
   (M.D. Fla. May 10, 2022) (rejecting party’s citation to “cases with broader arbitration
   provisions” and carefully evaluating the specific words used in the contract); Rutledge v. NCL
   (Bahamas) Ltd., 14-23682-CIV, 2015 WL 458133, at *5 (S.D. Fla. Feb. 3, 2015) (comparing the
   arbitration clause language involved in Eleventh Circuit case law to the clause before it to
   determine if the precedent was applicable).


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   barring and restricting certain customers from obtaining rental services; (ii) taking actions

   primarily intended to prevent or frustrate the achievement of Contingent Period Revenues

   meeting or exceeding the Contingent Payment Threshold, by failing to diligently and accurately

   identify and disclose all rental revenues for all accounts, locations, and subsidiaries of Sunbelt

   for all Contingent Payment Customers (including New Customers); (iii) failing to provide Action

   Rentals with a Final Revenue Calculation setting forth the Contingent Period Revenues in

   reasonable detail by repeatedly providing incomplete and inaccurate calculations and without

   sufficient information for Action Rentals to exercise their contractual rights to dispute and

   propose adjustments to Sunbelt’s calculations; (iv) failing to negotiate in good faith to resolve

   disputes over the Final Revenue Calculation by repeatedly providing incomplete and inaccurate

   calculations and without sufficient information for Action Rentals to exercise their contractual

   rights to dispute and propose adjustments to Sunbelt’s calculations; and (v) failing to pay Action

   Rentals the Contingent Payment Amount owed in accordance with the APA’s specified

   Contingent Payment Threshold. (Am. Countercl. ¶¶ 138-39, 149-50.)

          Sunbelt’s failure to provide rental services to certain customers as contractually required,

   for example, is not an accounting dispute or a dispute about a proposed adjustment to the Final

   Revenue Calculation. It is a violation of a specific APA provision governing the operation of the

   acquired businesses, the result of which inhibited the generation of additional revenues that

   would have counted towards Action Rentals’ receiving an earnout payment.

          In Fit Tech, for example, the First Circuit held that breach of contract and good faith and

   fair dealing claims were not arbitrable because they were based on the buyer’s alleged “operating

   violations” in diverting business away from acquired company. 374 F.3d at 3, 8.8


          8
             See also Orrico, 119 F. App’x at 900-03 (holding breach of contract claim and
   determination of damages not arbitrable where based on buyer’s limiting certain operations of
   acquired company); XL Capital, 145 F. App’x at 384-86 (holding breach of contract claim not
   arbitrable where based on buyer’s “misrepresentation that [a] new line [of business] would be
   excluded from the earnout calculation” and “evasive failure to provide” the seller with the


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          As in Fit Tech, Orrico, XL Capital, Hodges, and BBCM, Counterclaims I and II allege

   either “operating violations” or violations of express or implied obligations that are outside the

   scope of the limited accountant-arbitrator provision at issue here. Therefore, Counterclaims I and

   II are properly before this Court.

                  6.      Counterclaim III Is Not Arbitrable
          Similarly, Counterclaim III is not subject to the accountant-arbitration provision.

   Counterclaim III seeks a declaration that Section 3.4(a)(iv) of the APA fixes the Contingent

   Payment Threshold at $35,927,611.03, as specified in the Contingent Payment Customer List.

   Action Rentals seeks declaratory relief because Sunbelt has recently claimed that the Contingent

   Payment Threshold should be adjusted upwards to $41,331,593. (Am. Countercl. ¶ 155.) This

   dispute turns on interpreting the APA—decidedly a lawyer’s task, not an accountant’s—which

   defines the Contingent Payment Threshold as “an amount equal to the combined Rental

   Revenues of Sellers and Buyer attributable to the Contingent Payment Customers during the

   trailing twelve (12) month period prior to the Closing, as reflected on the Contingent Payment

   Customer List.” (Am. Countercl. ¶¶ 56-57; APA § 3.4(a)(iv), Schedule 3.4(a)(ii).)

          As the Fifth Circuit held in Lone Star, the parties did not empower the accountant-

   arbitrator to resolve the proper measure for the Contingent Payment Threshold because it raised a

   legal issue outside the accountant-arbitrator’s authority. 898 F.3d at 632-35. Instead, the narrow

   language of the APA limits the arbitrator to resolving accounting disputes over “proposed

   adjustments” to the Final Revenue Calculation, and the question of the correct Contingent

   Payment Threshold falls under the APA’s separate provision for any other disputes “arising out


   required calculations); Hodges, 2008 WL 476140, at *2, 4-5 (holding breach of contract and
   good faith and fair dealing claims not arbitrable where based on buyer’s failure to maximize
   sales of acquired products); BBCM, Inc. v. Health Sys. Int’l, LLC, C10-0086, 2010 WL 4607917,
   at *3-4, 8 (N.D. Iowa Nov. 4, 2010), report and recommendation adopted, 2010 WL 5418892
   (N.D. Iowa Dec. 23, 2010) (holding breach of contract and good faith and fair dealing claims not
   arbitrable where buyer “fail[ed] to provide [seller] with ‘accurate and detailed financial
   information’”).


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   of or relating to” the APA to be heard in federal or state court. (APA §§ 3.4(d), 11.10); see Lone

   Star, 898 F.3d at 632-35.9

          Sunbelt’s attempt to distinguish Lone Star based on its procedural posture falls short.

   (Renewed Mot. at 12.) Lone Star addressed the proper scope of the arbitration clause and held

   that the interpretive question about the Contingent Payment Threshold was not arbitrable.

   Sunbelt’s apparent suggestion that Action Rentals should be compelled to arbitrate an issue

   beyond the scope of the applicable arbitration clause, only then to come back to this Court to re-

   litigate the arbitrator’s authority, is nonsense. Moreover, Sunbelt’s wishy-washy suggestion that

   Sunbelt may change its position during arbitration is not credible. Notably, Sunbelt does not say

   that it will not contest that the Contingent Payment Threshold is what the APA says it is—

   $35,927,611.03. Thus, the proper interpretation of the Contingent Payment Threshold in

   Counterclaim III is a live, contested issue that is properly before this Court.

          B.      Counterclaim IV Is Not Moot
          Counterclaim IV seeks an order directing Sunbelt to provide Action Rentals with a

   Closing Statement that complies with the APA. Sunbelt contends that Counterclaim IV is moot

   because it already provided Action Rentals with an APA-compliant Closing Statement.

   (Renewed Mot. at 12-14.) Action Rentals disputes that. Counterclaim IV should not be dismissed

   because the claim turns on a dispute of material fact that goes to the merits, not to jurisdiction.

          “[W]ell-established precedent holds that claims should not be dismissed on motion for

   lack of subject-matter jurisdiction when that determination is intermeshed with the merits of the

   claims and there is a dispute as to a material fact.” ECB USA, Inc. v. Chubb Ins. Co. of NJ, 20-

   20569-Civ, 2021 WL 9219658, at *2 (S.D. Fla. Nov. 15, 2021). Here, there is at least one

   material mixed issue of law and fact that cannot be resolved on a motion to dismiss.
          9
            See also Harker’s Distrib., Inc. v. Reinhart Foodservice, L.L.C., 597 F. Supp. 2d 926,
   939-42 (N.D. Iowa 2009) (accountant-arbitration clause was limited to “accounting matters”
   only and did not extend to questions of contract interpretation regarding the import of a schedule
   of customers for earnout provision).


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          The parties clearly dispute what Section 3.3 of the APA requires and whether Sunbelt

   satisfied those requirements. Sunbelt argues that its “first draft” of the Closing Statement on

   December 23, 2021 was adequate based on its interpretation of the APA. Action Rentals argues

   that the APA does not allow for “first draft” submissions of the Closing Statement. Action

   Rentals further contends that a “first draft” submission is incompatible with the structure of the

   APA, because Action Rentals cannot exercise its rights to contest the Closing Statement if it is a

   moving target. Resolving the parties’ dispute thus “requires an interpretation of the [contract] as

   well as weighing of evidence” of Sunbelt’s conduct to determine Sunbelt’s compliance with the

   APA. ECB USA, 2021 WL 9219658 at *2 (denying motion to dismiss based on question of

   whether a party was insured under operative contract). Moreover, “a case becomes moot only

   when it is impossible for a court to grant any effectual relief whatever to the prevailing party.”

   Cook v. Bennett, 792 F.3d 1294, 1299 (11th Cir. 2015). If the Court agrees with Action Rentals

   that Sunbelt’s draft statement was deficient, the Court then will be in a position to grant the relief

   Action Rentals seeks in the form of specific performance. In sum, Sunbelt has done nothing

   more than “dress up a merits question” as an issue of subject matter jurisdiction. ECB USA, 2021

   WL 9219658, at *2. The renewed motion to dismiss Counterclaim IV should therefore be denied.

          C.      Counterclaim V Is Adequately Pled and Not Precluded by the APA
                  1.      The Allegations Satisfy the Iqbal Standard
          Sunbelt argues that Counterclaim V does not satisfy the Iqbal standard. (Renewed Mot. at

   15-17.) The argument is meritless. The allegations easily satisfy the low bar established by Rule

   8(a)(2), which only requires a pleading to include “a short and plain statement of the claim

   showing that the pleader is entitled to relief[.]” Fed. R. Civ. Pro. Sunbelt does not (and cannot)

   contend that the heightened pleading standard of Rule 9(b) applies.

          Under Florida law, unjust enrichment has three elements: “(1) the plaintiff has conferred

   a benefit on the defendant; (2) the defendant voluntarily accepted and retained that benefit; and




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   (3) the circumstances are such that it would be inequitable for the defendants to retain it without

   paying the value thereof.” Virgilio v. Ryland Group, Inc., 680 F.3d 1329, 1337 (11th Cir. 2012).

   Action Rentals alleges that it conferred a benefit on Sunbelt, i.e., “unreimbursed, post-closing

   expenses that belonged to Sunbelt,” such as “property taxes, security services, utilities, rent,

   mailing costs, and various other business expenses, total[ing] $1,381,569.77.” (Am. Countercl.

   ¶¶ 130-131.) Action Rentals also alleges that Sunbelt retained the benefit, has not reimbursed

   Action Rentals, and that Sunbelt has been unjustly enriched. (Id. ¶¶ 132-133, 168-172.)

          Accepting these allegations as true, as this Court must, see Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009), Counterclaim V easily satisfies Rule 8(a)(2) because all elements of the claim

   have been pled sufficiently. In addition, the allegations satisfy Iqbal’s plausibility test because

   that test merely requires pleading “factual content that allows the court to draw the reasonable

   inference that the defendant is liable for the misconduct alleged.” Id. Similar allegations in this

   District have been found to adequately state a claim for unjust enrichment. See, e.g., Quantum

   Supply B.V. v. Mercury Air Cargo Inc., 20-CV-25223, 2021 WL 2414161, at *4 (S.D. Fla. June

   14, 2021) (holding that unjust enrichment was adequately pled because plaintiff identified costs

   and expenses it incurred on behalf of defendant that “fall outside of the scope of the parties’

   contractual agreement”). To the extent that Sunbelt wants more information about the alleged

   expenses, that is not a reason to dismiss the claim. Instead, “[t]he discovery process will afford

   [Sunbelt] the opportunity to explore the factual basis of [Action Rentals’] claims and to narrow

   issues . . . .” Clearwater Consulting Concepts, LLP v. Imperial Premium Fin., LLC, CIV 09

   81042, 2010 WL 916392, at *2 (S.D. Fla. Mar. 11, 2010).

                  2.     The APA Does Not Cover All Unreimbursed Expenses
          Sunbelt argues that the entirety of Counterclaim V is precluded by the existence of the

   APA. (Renewed Mot. at 14-15.) Sunbelt’s argument mischaracterizes the allegations supporting

   Counterclaim V and Action Rentals’ positions taken in this case.



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          As noted above, Counterclaim V is based on “unreimbursed, post-closing expenses that

   belonged to Sunbelt,” such as “property taxes, security services, utilities, rent, mailing costs, and

   various other business expenses.” (Am. Countercl. ¶¶ 130-131.) Sunbelt contends that the APA

   categorically precludes any unjust enrichment claim. But “the existence of a valid contract, on its

   own, does not bar an unjust enrichment claim where the damages alleged fall outside the scope

   of the contract.” See Quantum Supply, 2021 WL 2414161, at *3.

          It is true that the APA addresses issues related to post-closing rent and utilities. For that

   reason, Action Rentals previously sought, and reiterates its request for, leave of this Court to

   replead Counterclaim V in part to assert breach of contract for rent and utilities expenses.10 But

   the allegations in the Amended Counterclaims do not suggest that Sunbelt owes Action Rentals

   for post-closing property taxes, security services, mailing costs, and other expenses as a function

   of the APA, or that those expenses are covered by the APA, and Sunbelt does not identify

   portions of the APA to the contrary. Therefore, Counterclaim V should not be dismissed.

   IV.    CONCLUSION
          For the foregoing reasons, Sunbelt’s motion to compel arbitration and dismiss the

   Counterclaims should be denied, and Action Rentals respectfully requests leave to amend its

   counter-claims to remove rent and utilities expenses from Counterclaim V and assert

   unreimbursed rent and utilities expenses as a breach of contract claim.



          10
              Action Rentals did not seek to include any amendments to Counterclaim V in its First
   Amended Answer, Affirmative Defenses, and Counterclaims because its request for leave to
   amend that counterclaim remained pending before the Court. (D.E. 12, at 18-19.) Because the
   Court has not yet opined on Sunbelt’s arguments to dismiss Counterclaim V, Action Rentals
   renews its request respectfully that the Court grant leave to amend Counterclaim V to remove
   rent and utilities from the allegations and to re-plead unreimbursed rent and utilities expenses as
   a breach of contract claim. See Fed. R. Civ. P. 15(a)(2) (“The court should freely give leave [for
   a party to amend its pleadings] when justice so requires.”). Amendment remains appropriate here
   because Action Rentals has not unduly delayed in seeking the amendment, Sunbelt would not be
   prejudiced by an amendment, and the amendment would not be futile. See Brewer–Giorgio v.
   Producers Video, Inc., 216 F.3d 1281, 1284 (11th Cir. 2000).

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   Dated: December 27, 2023           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that, on December 27, 2023, undersigned counsel filed the foregoing
   document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
   being served on all counsel of record and parties registered via transmission of Notices of
   Electronic Filing generated by CM/ECF.

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